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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

MARIA R. MARTINEZ,

                       Plaintiff,
                                                        No. 1:18-CV-04334
         v.
                                                        Hon. Charles R. Norgle, Sr.
CALIBER HOME LOANS, INC.,
et al.

                       Defendants.


                  STIPULATION OF DISMISSAL OF ACTION WITH
                PREJUDICE PURSUANT TO FED. R. CIV. P. 41(a)(1)(A)(ii)

         Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), Plaintiff Maria R. Martinez

(“Plaintiff”), U.S. Bank Trust, N.A., as Trustee for LSF9 Master Participation Trust (“U.S. Bank

Trust”), Defendant Caliber Home Loans, Inc. (“Caliber”), and Defendant Anselmo Lindberg &

Associates (“Anselmo” together with U.S. Bank Trust and Caliber, “Defendants”) hereby notify

the Court that they have reached a global settlement of all claims asserted by Plaintiff against

Defendants in this action. Plaintiff and Defendants thus stipulate to, and request that the Court

enter an order of, dismissal of this action in its entirety with prejudice and without an award of

attorney fees or costs to any party.



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IT IS SO STIPULATED BY:

DATED: February 5, 2019

MARIA R. MARTINEZ                                U.S. BANK TRUST, AS TRUSTEE FOR
                                                 LSF9 MASTER PARTICIPATION TRUST

By /s/ Tara L. Goodwin (with permission)         By Yasamin N. Oloomi
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CALIBER HOME LOANS, INC.                         ANSELMO LINDBERG & ASSOCIATES

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